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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRTCT OX' ILINOIS, EASTERN DTVTSION

PNC Bank, National Association, successor in                 )
interest by merger to National City Bank, successor          )
in interest by merger to MidAmerica Bank, FSB                )
                                                             ) No   13 cv 07271
                                     Plaintiff.              )
                                                             ) Property Address:
                      vs.                                    ) 124-136 S. Randall Road
                                                             ) Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general              )
Partnership; Chicago Title Land Trust Company,               ) Assigned Judge: Robert M, Dow,     Jr.

successor trustee to Amcore Investment Group as              ) Magistrate Judge: MarY M. Rowland
Trustee Under Trust Agreement Dated December 15,             )
1993 andKnown as Trust Number 3504; Jeffrey R.               )
Dtrnham; Robert R. Dunham; Power PizzaConpany
cl/b/a Jake's Pizza,an Illinois domestic corporation;
                                                             )
                                                             )
                                                                                  FIL    D
                                                                                   Ll ls tq .
Phoenix Leasing Incorporated, a foteign corporation;         )
                                                             )                      APR 1       520 14
                                                             )
                                     Defendants.             )                    THOMASG BRUTON
                                                                             CLERK, U   S   DISTRICTCOURT

                            SECONp REPORT Or            rlrE REpEJV4B
The Receiver, Joshua E. Joseph, herewith submits a Second Report of Receiver summarizing the
activities periormed by the Receiver from January 14,2014 tluough March 31,2014- Pursuant to
the Couri Orcler dated December 5, 2013, Joshua E. Joseph was appointed Receiver for the
mortgagecl real estate in the above case commonly known as 124-136 S. Randall Road,
Algonquin, Illinois 60102;herein referrcd to as the "Property."


                             DESCRIPTION OF THE PROPERTY

Location:                     124-136 S. Randall Road, Algonquin, McHeruy County,Illinois
Properfy Type:                Retail Stlip Center
Gross Building Area:          13,850 scluare feet
Number of Buildings:          1

Number of Units:              7
Year Built:                   r995
Construction:                 Brick and block
Land Area:                    1.38 acles
Parking:                      Approx. 55 asphalt-paved sPaces
Condition:                    Average to good

Photographs of the Property are included as   Exhibit "A".
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                        GENERAI, $TATUS & RECEIVER ACTIVITY

Overvieyt

Tlie Receiver has continued to pelform routine inspections of the Property to ensurc there are tro
life safety issues or deferyed roairt"nan"e requiring immediate action. The Property appears to be
in overail average to good condition. The Receiver is collecting rents fi'om the tenants and
paying operatingexpenses to maintain the Property. The Receiver has responded to maintenance
issues fiom the tenants and has also maintained contact with the Plaintiff and Defendants of this
case regarding the Property. The Defendants also tumed over the security deposits for all tenants
besides Clean & Press, Inc. totaiing $7,567.00.

Photographs of the Property are included as Exhibit'oA'1.

Tenont   - New Clique, LLC
Tlre tenant New Clique , LLC vacated theil space on January 15,2AA due to financial hardship
and lack of sales. The lease cloes not expire until August 2016. The Receiver has negotiated an
agreement with the tenant to terminate the lease effective January 15,2014 in retutn for a
teimination fee of $7,359.00 (equivalent to three months of fixed rent) in addition to the
$2,453.00 security deposit. The Receiver engaged Stahl Cowen Crowley Addis LLC to dmft a
lease termination.agreernent attacheci as Exhibit l'Bl', and the Receiver requests that the Court
approves execution of the agreement in otder to offset damages caused by the tenant vacating
early.

Tenont - Clean   &   Press,   Inc,

Tlie Defendant still has not turned ovel'a lease for the tenant Clean & Press, Inc. The Defendant
has representecl that the base lent for this tenant is $3,000 per month, or $12,24 pet' sqttare foot
pet year. The Receiver believes tliat this rental rate is below malket level and negatively impacts
ihe irroperty's value. In addition, the Receiver has procuted a Lettel of Intent fi'orn Family Fabric
Care T[rere, LLC dlblaTicle Dry Cleaners to lease the same plemises for'$24.50 per squarc foot
per yeal., a copy of which is attached as Exhibit
                                                    {{e". This prospective tetlant is a national credit
ienant, ancl thelncreased rent level for this space would significantly increase the trrarket value of
the Property. The Receiver does not believe that it is in the best interests of the Ptoperty to
continue leasing the premises to Clean & Press, Inc., an entity affiliated with the bomowet, at a
below market rent without any lease agreement. Tlie Receiver intends to engage Stahl Cowen
Crowley Adclis LLC to pursue telmination of Clearr & Press, Inc. and its subtenants' possession
at the Property in otder to increase the value of the Property.

ToxAppeal

The Receivel has engaged Scitnidt Salzrnan & Moran, LTD. to appeal the real estate taxes
assessed against the Property. The fee is contingent on a successful reduction of the assessed
value of the Property, in an amonnt equal to one-third of the fir'st yeat's tax saving,


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Morkefing

The order. appointing Receivel grants the Receiver autholity to market the Property fol sale, The
Receiver has obtained five (5) offers to purchase the Property which have been disclosed to the
Plaintiff and Defendant's counsei via e-mail,

                                       RECDIVER'S BOND

The Order Appointing Receiver required the posting of a $75,000 bond. The Receiver posted the
                                                                               ('E".
bond on December l0,2Al3,a copy of which is attached to this Report as Exhibit


                                           INSURANCE

The Receiver has verified that the Plaintiff has placed adequate property insurance coverage on
                                                                          ((F".
the Property. A copy of the itrsurance certificate is attached as Exhibit


                                       PROPERTY TAXES

The Property is located in McHenly County. Tlrete is one (1) PIN associated with the Propetty:
l9-30-400-008. The 2012taxes (payable 2A13) totaled $79,679.52 and have been paid in full.

A copy of the most recent tax bill fi'om the McHeruy County Tteasttrcr    website is attached as
Exhibit ftG".


                           BAI{KING AND FINANCIAL ACTIVITY

The Receiver has established a bank account to deposit tental income and pay operating
expenses for the tenn of the receivership. From Janttary I through March 31,2014, total receipts
weie $56,189.36 andtotal expenses were $17,465.82. The net operating income was $38,723.54.
The caslr balance on hand as of 3/31/14 was $29,226.54. Financial statements including an
ilcome ancl expense statement, bank teconciliations, receipt register, check register; and aged
delinquency teport, are inclttded as Exhibit "H'1.

A culrent tent roll for the Ploperly is also incltrded in Exhibif 1'H".


                                           LITIGATION

The Receiver is not aware of any litigation involving the Property othel than the subject
foreclosure case.




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                                      RECEIVER'S.FEtrS

A detailed billing statement for the Receiver's fees is attached   as   Exhibit   "I".

                                        DRAFT ORDER

A draft order appl'oving the Second Report of the Receiver is attached      as    Exhibit '(J"'


                                     TABLE Or EXHIBITS


EXHIBIT A _ PHOTOGRAPHS
EXHIBIT B _ DRAFT LEASE TERMINATION AGREEMENT
EXI{IBIT C _ LEASE LETTER OT INTENT
EXHIBIT D _ OMITTED
EXHIBIT E - BOND
EXHIBIT T - INSURANCE
EXHIBIT G _ RIIAL ESTATE TAXES
EXIIIBIT H _ FINANCIAL ACTIYITY & RENT ROLL
EXHIBIT I - RECtrIVDR'S TEBS
EXHIBITJ-DRAFTORDER




                              Contact Information for the Receive{

                                         Joshua E. Joseph
                                707 Skokie Boulevard, Strite 580
                                       Northbrook,IL 60062
                                       (847) 770-6262 Phone
                                j j oseph@fi'ontlinerepartners.com




Resp   ectfully subrnitted,




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                EXHIBIT A
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                EXHIBIT B
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       This Lease Termination Agreement and Mutual Release ["Agreement") entered into
by and between JOSHUA E. JOSEPH, COURT APPOINTED RECEIVER IN CASE NO' 13'cv-
aZZll (,,Landloid"), and NEW CLIQUE LLC, an Illinois limited liability company ("Tenant",
                                                                                 "Parties"
and together with ihe Landlord sometimes referred to collectively herein as the
or each a "Party"):

                                 |oint Venture, an Illinois General Partnership and Tenant
             WHEREAS, Randall Road
entered into a certain Lease Agreement dated July 13, 2013 (the "Lease"), fol the real estaLe
commonly known as 128 S. Randall Road, Store No. 128, Algonquin, Illinois fthe
"Premises");

      WHEREA$ the initial term of the Lease expires three [3) years from the Delivery of
Possession Date, with two [2) extension options thereafter [the "Term"J;

             WHBRBAS,   connection with the Lease, Tenant deposited with Landlord an
                                        in
amount equal to Two Thousand Four Hundred Fifty Three and 00/100 Dollars ($2,453'00J
as security for Tenant's performance under the Lease [the "security Deposit"J;

        WHEREAS, Tenant has vacated the Premises and Landlord and Tenant desire to,
among other things, modify the term of the Lease and resolve, compromise, and completely
settle any and all matters arising out of the Lease'

      NOW THEREFORE, in consideration of Ten Dollars ($10,00) in hand paid, the
mutual promises ancl covenants contained herein, and other good and valuable
considerition, the receipt and sufficiency of which is hereby acknowledged, the parties
hereto hereby agree to the following:

             L.            Recitals Incorporated. The recitals and paragraphs set for[h above are
hereby agreed to and incorporated in full and made a part of this Agreemenf.

             Z.
            Termination Date. The Term of the Lease is hereby revised to end on January
IS,2A74, The "Expiration Date" of the Lease shall hereafter be deemed to mean Januaty
lS, Z0'L4, Tenant agrees and acknowledges that it has abandoned any and all Options to
Extend the Term of the Lease. As of the Expiration Date, Tenant has delivered possession
of the premises to Landlord with all personal property of Tenant removed in accordance
with the terms of the Lease, Any personal property remaining in the Premises after the
Expiration Date shall be deemed to be abandoned by Tenant and Tenant hereby waives any
right or claim against Landlord relating to same.

             3.
           Security Depo-sit, In addition to the Termination Fee set forth in Paragraph 4
below, Tenant agrees and acknowledges that it forfeits its right to a return of the Security
Deposit and Landlord may retain said Security Deposit'




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           TerHrination Fee. The "Termination Fee" of the Lease shall hereafter be
             4.
deemed to r*rn g7,35g.00, Provided that Tenant complies with the terms of this
Agreement, Landlord has agreed to accept and Tenant has agreed to pay Lessee the
Termination Fee, as revised by this Agreement, in full settlement of all matters pertaining to
the Landlord, the Lease and the Premises.

             5.
            Landlord's Release. Except for any breach or default of this Agreement by
Landlord, l,andtord does hereby release and forever discharge Tenant and each of its
affiliates, officers, directors,                     agents, successors, predecessors, and assigns for all
claims, causes of action,
                                         ".pioy".t,              of any kind or nature, in law or in equity,
                                    debts, liabilities, or demands
which Landlord ever had or now has against Tenant and its affiliates, officers, directots,
employees, agents, successors, predecessors, and assigns which arise out of any and all claims,
causei of action, debts, sums oi money, accounts, or demands which have been or could have
been asserted pertaining to the Lease, for or because of any material thing done, omitted or
suffered to be done by anyone prior to and including the date hereof,

             6,
             Tenant's Release, Except for any breach or default of this Agreement by Tenanl
Tenant does hereby release and forever discharge Landlord and each of its affiliates, officers,
directors, employels, agents, successors, predecessors, and assigns for all claims, causes of
acLion, deb6,liabilities, or demands of any kind or nature, in ]aw or in equity, which Tenant
ever had or now has against Landlord, and its affiliates, officers, directors, employees, agents,
successors, predecessors, and assigns which arise out of any and all claims, causes of actlon,
debts, sums of money, accounts, oi' demands which have been or could have been asserted
pertaining to the Leaie or the Premises for or because of any material thing donq omitted or
iuffered to be done by anyone prior to and including the date hereof.

             7,       Miscellaneous.

                   a.     Except as revised by this Agreement, all other terms and provisions of the
                          Lease shall remain in full force and effect until the Expiration Date, provided
                          however, that in the event of any conflict between the Lease and this
                          Agreement, this Agreement shall control'
                    b,    ffiis Agreen:ent constitutes the full, final and entire agreement and
                          understinding between the Parties with respect to the subiect matter of this
                          Agreement, and there are no other prior or contemporaneous written or oml
                          agreements, undertakings, promises, representations, warranties, ot'covenants
                          nlt contained herein, any and all prior agreements or l'epresentations having
                          been merged herein and superseded hereby.
                    c,    This Agreement shall be deemed to have been jointly drafted by the Parties
                          and any rule that an agreement shall be construed against the drafter shall
                          not apply to this Agreement,
                   d.     It is icknowledged that each Party has read this Agreement and has
                          consultecl counsel, or knowingly chose not to consult counsel before
                          executing same; each Party has relied upon his or her own judgment and/or
                          that of his or her counsel in executing this Agreement and has not relied on
                          or been induced by any representation, statement or act by any other ParLy


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                            which is not referred to in this instrumen| each Party enters into the
                            Agreement voluntarily, with full knowledge of its significance; and the
                            Agreement is in all respects cornplete and final. The Parties further represent
                            and warrant that they have not sold, assigned, transferred, conveyed or
                         otherwise disposed of any of the claims covered by this Agreement, and that
                         the persons signing this agreement on behalf of the named entities are duly
                         authorized to do so.
                     e. All payments set forth in Section 3 and 4 above shall be made payable to
                         Landlord.
                         This Agreement shall be construed and governed by the laws of the State of
                         Illinois, Federal Court residing in Cook County.
                     g. This Agreement shall not be amended except by a writing signed by all of the
                         Parties hereto,
                     h. This Agreement remains subject to the approval of the Court in Case No. 1"3-
                         cv-0727L.
                        The Parties agree that a facsimile signature shall have the same force and
                         effect as original signatures. This Agreement may be executed in one or
                         more counteryarts, each countelpart to be considered an original portion of
                        this Agreement.
                        This Agreement may not be assigned by any of the Parties hereto, whether by
                         operation of law or otherwise, without the prior written consent of the other
                        Parties hereto, except that any right, title or interest of a Party arising out of
                        this Agreement may be assigned to any partnership or corporation
                        controlling, controlled by, or under common control with such Party, or
                        succeeding to the business and substantially all of the assets of such Party.
                        Subject to the foregoing, this Agreement shall be binding and shall inure to
                        the benefit ofthe Parties and their respective successors and assigns.
                     k. The headings, captions and section numbers appearing in this Agreement are
                        for convenience only and are not a substantive parL of this Agreement and do
                        not in any way limi! amplify, define, construe or describe the scope or intent of
                        the terms or provisions of this Agreement,




                          [THE BALANCE OF THIS PAGE INTENTIONALLY IEFT BLANK;
                                      SIGNATURE PAGE TO FOIIOWI




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            IN WITNESS WHERBOF, the parties have executed this Lease Termination
Agreement and Mutual Release as of           April

LANDLORD:
                                                     -2074'

I0sfluA        E. JOSEPH, NOT         INDMDUALTY
BUT SOLETYAS COURT APPOINTED
RECEIVBRIN CASB N0. 13'cv-07277,


Byr
       |oshua    E. Joseph,      Receiver

TENANT:

NEW CLIQUE LLC, an Illinois limited
Iiability company

B


Name:

Its:




10343 49.0A0 U 13027 67 I   rl
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                EXHIBIT C
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           W#,
DRY CLEANERS

2t7t2014

Re: Family Fabric Care Three, LLC, d/b/a Tide Dry Cleaners. ("Tenant") and LANDLORD NAME' LANDLORD
nOOnfSS (Landlord'): Poteniial Build-to-Suit of space tocated ai 136 S Randall Rd, Algonquin, lL (the "Premises")

Mr, Joseph:

This letter will describe the discussions we have had for a potential lease by Tenant of the Premises' As is more fully
described in the next to last paragraph of this letter, we understand and agree that the terms of lhis letter, with the sole
            of the confidentiaiity siction set forth below, are not binding and express only the basic terms we have
"*""ption for lhe Lease, which each of Tenant and the Landlord is under no obligation to enter into.
discussed

    1- Tenant. Family Fabric Care Three, LLC,

    2.   Landlord. LANDLORD NAME

    3. premises. Approximately 2,700 square feet wilh a drive thru. This offe1 is expressly conlingent upon Tenant
    recepift-from l-inOtorO a Nb Further Action letter (NFA tetter from lhe EPA) on lhe space showing that the soil
    samples prove lo be a clean site.

    4. Term. Ten    (10) Years

    5. Renewal    Oplions. Tenant witl have two options to renew lhe Lease for a period of flve (5) years each. Base
    nent   OurffiGaiffiion  period will increase, on a one time basis, by 5% from rent during lhe last year of the base
    term, or option term, as the case may be.

    6.   Delivery Conditions. No later than 180 days from the full execution of the Lease Agreement (the 'Dgllygry
    pate).1-ln41*d rh"ll (") remove the existing tenant, (b) perform environmentaltesting to prove the site is clean, (c)
    compiete a full turnkey delivery of Tenant's prototype building as described in exhibit B (Construction Documents
    will lie provided at a liter date), and (d) deliver the'Premises-to Tenant. lf Landlord for any reason (regardless of
    for"e niaieurel does not meet'ihese c6nditions (the'Q9liyerylSldltign!:) by the Delivery Date, rent shall abate
    three (3)'dayi for each one (1) day after the Delivery Date itrat ttre ,Delivery Conditions have not been met. lf
    Landlord for any reason (regaicitess-of force majeure) does not satisfy lhe Delivery Conditions before 210 days from
    the full execu(ion of lhe Leise Agreement (lhe "Dead!te'), Tenant shall have the right, for a period expiring sixty
    (60) days after lhe Deadline, to Grminate ihe Lease, effective upon delivery of the notice.Should Tenant choose
    not'to ei,ercise its right to terminate as specified herein, Tenant shall abate rent for twelve (12) monlhs beginning on
    the date that the Lindlord actually deliriers the Premises in the condition set forth in Section 10 ('Actual Delivery
    Date').
                                                                                                                 meets (he
    7.   Fixture Period and Commencement of Term. Tenant shall have 150 days            {e1 t[9 date Landlord
    oetsworkinthePremises(the,.Eix!geJcIi9d")'TheTermshallbeginon
    the first day after the expiration of the Fixture Period'

    B. Rent.Qommencement. The obligation of Tenant to pay rent and other charges shall begin on ihe           first day after
    the expiration of lhe Fifure Period.

    g.  Tenant lrnprovements. Upon the signing of this letter of intent, Landlord will provide Tenant with a current
    surveyrcnOltes,      anO as bdilt conslruction drawings of the Shopping Center and the Premises, including all
    existing mechanical, electrical and plumbing systems. Landlord hereby approves all modifications and alteralions
    by Ten-ant to the Premises for the conduct of its business in accordance with Tenant's prototype plan, attach.ed as
    Eihibit A. lf Tenant's applicaiion for a certificate of occupancy is denied, Landlord shall pursue T_enant's certificate
    of occupancy, lf Landl6rd is unabte to secure Tenant's certificate of occupancy within 90 days, Tenant shall have
    the option lo terminate the Lease by nolice to Landlord.


    10. Punch List. Tenant shall have the righl, within thirty (30) days after lhe Delivery Date, to prepare and deliver to
    LanatorOa tiut of defective and incomplete items of Landlord's work in lhe Premises (the 'Punch Lisf), Landlord
    shall promptly repair and complete the items on the Punch List. ll within ten (10) days of receipt of the Punch List,
    Landlord fails to correct and comple(e the listed items, Tenant may elect either to terminate the Lease or to
    complete the Punch List items and deduct lhe cost thereof from its next due installments of rent'
                                                                                                                  Page   I of7
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 'l   1.   Base Rent. Tenant shall pay the base rent set forth below, Tenant shall not be obligated to pay percentage
 rent.

                   Delivery Date   -   150 days thereafter        $0.00 per month

                   Rent Commencement through Year            10   $5,512,50 per monlh - $66,150/year - ($24,50/s0

 12. Net Charqes. Tenant shall pay its proportionate share of       common area maintenance, real estate taxes, and
 insufrnce, Eiliusive of   charges  cusiomaiity not paid by national retailers, such as capital costs. Triple net charges
 are currently estimated at $A,Og per square foot. Operating expenses (exclusive only of-expenses for snow
 removal, utiiities, real estate taxes and insurance premiums) will not increase by more than 3% of the prior yea/s
 expenses. Administrative/Management expenses wilt not exceed 1Oo/o of common area main{enance charges;
 prirvided, however, that in the event CAM charges include any management fee, no administrative expenses may
 be added to such management fee. Tenant will have customary rights to audit net charges. Copies of accounting
 statements shall be furnished to Tenant upon request.

 13. Use. Operalion of a Tide          Dry Cleaners.

14. Exclllsive. Landlord shall not lease or permit the lease or occupancy of space in the Shopping Center (or any.
aOiacent property owned by Landlord) to any other Tenant lhat engages in aclivity simllar to that of Tenant. lf
La'ndlord vioiated this proviiion, all rent and other charges shall abate two days for each day that the competing
Tenant occupies space in the Shopping Center.

                           install its standard signage shown in the altached Exhibit C and may also install lwo (2)
15. Sionaqe. Tenant may-multi-Tenant
panelslsign faces on the                  pylon/monument sign at lhe Shopping Center (lnsert Location of Panels).
bhould aiy  future pylon/monument     signs be erected at the Shopping Center which were not erected at the time in
which the Lease was executed, Tenant shall have the First Right of Refusal to place its panel on said sign,
 16. Mai!"tenance. Landlord will make all repairs, replacements or improvements to the Shopplng Cente-r and
 premises anU appurtenances including but not limited to the roof, foundation, exterior walls, the heating, ventilating
and air conditioiihg equipment, and sprinkler system, lo maintain the Premises in good condition and in compliance
wilh all applicable-lawi, ordinances, codes and regulations. Landlord will warrant the heating, veniitating and air
conditionfn'g system for iho Term, Landlord will be responsible, at its sole cost and expense, for compliance with
the Ameri&ni with Disabilities Act for the Shopping Center and the Premises. Tenant will otherwise have
maintenance and repair obligations customary for national Tenants. Tenant will have no obligation to repair any
property that Landloid is required to maintain or to make any capital improvements or additions within the last three
years of the Term. ln addilion, if either in the event of emergency or after notice, Tenant makes repairs which are
i:thenvise the responsibility of Landlord, Tenant will be entitled to deduct the reasonable cost of the repairs from the
next installments of rent. ienant will not be obligated to return the Premises to its original condition upon expiration
of the Lease or any earlier lermination that may occur,

17. Represenlations and Covenantg, Landlord shall make representations and covenants customarily contained in
teases w'rttr nationat tenants, such as the condition of the Premises, the zoning of and security for the Shopping
Center, the absence of hazardous waste in the Shopping Center, compliance with applicable laws, and similar
matters. Tenant shall be entilled to terminate the Lease in the event of a breach of any of these representalions
and, in the event of a breach of lhe zoning represenlalion, also to recover all conslruction and other costs incurred
in connection with the Lease,

18. Operalino Obtioations. Tenant shall have no obligation to operate its business in the Premises.

19. Transfer, Tenant wilt have customary rights to lransfer its interest in the Lease and in the Premises. The Lease
shall not contain a change in control provision,

 20. Tenant Protections. The Lease will contain customary protections given to national Tenants, including
covenants by Landlord not to implement actions or lmprovements that would adversely affect the visibility of, or
access to, the Prernises, or that would affect lhe location of the Premises relative to the exits from or entrances to
lhe Shopping Center. ln addition, Landlord wiil have no righl to relocate Tenant from the Premises. There will be no
security deposit,

21. Zoning Landlord hereby warrants lhat the property/land/Premises are zoned for the use intended in this Lease.
Snould the Premises not be zoned forthe intended use, as defined in Section '14 of this Lease, Tenant shall have
the right, at its option, to immediately terminate ihis Lease with no further obligation to Landlord, financial or
olhenr'rise.
                                                                                                                Page2   of1
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     ZZ. Brokerage.. Landlord and Tenant acknowledge that Baum Realty is acting as Tenant's agent in this transaction.
     1anOtorOJfritl pay Tenant's agent a commission which is common and customary within the marketplace, which
     shall be agreed ufon according to a separate agreement between Landlord and Tenant's agenl.

                                                                                               parties. Except as T?y pe
eonfidentiality. The lerms of this letter are contidential and will not be disclosed by the
requirea byGw, each     party agrees  lo  keep these  terms  confidential, and to  use them  solely in connection with the
discussioni concerning'lhe'Leise and the Premises, and to not dlsclose them to any lhird pa(y not affiliated with' or
represenling, advising or working with such party, without the prior approval of the other party.

Terms Not Binding. This letter sets forth the terms of our discussions but is not intended to be a binding or enforceable
agre"m"nt,          as otherwise provided in the last sentence of this section. Use in this letter of words such as 'shall'
                riot reflect and iiratt not be deemed to reflect any binding agreement of the parties. The parties
            "r""pt
aid 'will' does
contemplate that they will become legally bound only if, as, and when the Lease is executed and delivered by the
parties.' Each of ihe parties expressly reserves the righl to terminate lhe negoliations at any time.and for any or no
ieason without incurring any tiinlity io the other party. This Ietter is nol an agreement to negotiate in good faith.
Moreover, except as provided in the'last sentence of this Seclion, no past or future action, course of conduct, or failure
to act relating tti ttre t'easing of the Premises, or relating to the negotiation of the terms of the Lease, will give rise lo or
serye as a bisis for any obligation or olher liability on the part of the parties (even if ? Pa{y has. incurred expenses or
liabilities of any nature rihats5ever in anticipation of or in reliance upon the execution of the Lease). Notwilhstanding the
foregoing, the'parlies expressly agree thit the provisions of the confidentiality section (and only such section) are
inteiOeC-io be lLgally binriing aid enforceable agreements between us in accordance wilh the terms of such section.


Thank you for your prompt attention and consideration to this proposal. We look fomrard to working together on what we
t<nowwill be a first ilass development. Should you have any questions, comments or require any additional information,
please do not hesitate lo call. I can be reache d al 31:-?.27s8120 or at allen@&Aqn'lreally.com '


Presented by:                                                                          Accepted by,


                                                                                       Authorized signalory of Landlord
CC:                                                                                    Date:
Steve Collins   -   VP Real Estate, Construction, Design

Attachments:
Exhibit A: Prototypical PIan
Exhibit B: Landlord's Work
Exhibit C: Signage Plan




                                                                                                                      Page 3   of7
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                                   EXHIBIT   A
                       TIDE DRY CLEANERS PROTOTYPE PLAN




                                                                       Page d   ol7
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                                                 EXHIBIT B
                                 LANDLOBp',S WORK AND DELIVERY CONDITIONS

Landlord shall, at its sole cost and expense, provide and complete all work at the Premises, with the exception of
                                                                                       with all app_licable codes and
                                      'the (stbam & condensate lines), in accordance
equipment installation and process piping
Tenint's Construction Documents.          ioitowing scope of work is based on existlng exterior walls and roof being in
place,

INTERIOR WORK
    ,   Storefront access doors and rear service door per Tenant's Construction Documents with hardware as required
        by building code and ADA requirements. Any storefront modifications will be by the Landlord.
    .   Floor to bottom of joist clear space needs lo be a minimum of 13'.
    .   Provide clemolilion of existing interior partitions, ceilings and HVAC distribution.
    .   Provide two (2) code compliant ADA reslrooms (if required by code - Tenant only requires one restroom) per
        Tenant's Conslruction Documents.
         .   Verify if ADA upgrade is required to meet state and local codes. Toilet and wall hung lavatory or iike-new
             vanity to be in good working order, replace if rust or water deposit stains exist. Floor to be like-new
             ceramic tile. Aliaccessories per state and local codes to be in place including but not limited to: towel
             dispenser, loilet paper dispenser, mirror, and grab bars. Hot water heater to be in place for hand sink.
        Provide all 4 demising watls & in{erior partitions laped sanded and ready for Tenanl's wall trealment per
        Tenant's Construction Documents.
         .   Demising walls to include studs, drywalt (1 hr. rated), and minirnum 3" sound batt insulation to the deck
        Patch, repair and level exisling floors, as required, broom clean and ready for floor covering. Control joints,
        cracks and seams in floor slab to be a minimum to avoid excessive floor prepara{ion, Areas of settling or
        excessive unevenness lo be floated and ready to accept llooring.
        Mechanical system of sufficient conliguration and size to adequately heat and coot lhe leased premises as
        determined by Tenant's Construction Documents and Tide Dry Cleaners Prototype HVAC Basis for Design
        which typically consist of {he following:
                  ,    Centralized HVAC system with supply and return air duct work and air distribution
                      .      Historically, the Midwest region HVAC equipment configurations have looked similar to two
                             (2) - ten tdn HVAC unils in the produclion area and one {1) - four ton HVAC unit above the
                             lobby. (this will be determined by mechanical engineers final calcutations and design.)
                  .    'Splif spot cooling system and distribution in the production area
                  .    An exhaust fan and ducted exhaust system
        .    HVAC unlls and model numbers shall comply with Tenant's Construction Documents
        '    All controls for Tenant's space to operate only lhe RTU's, ducts, diffusers, VAVs, or olher related HVAC
             equipment inside Tenant's space. No other space, corridor or unit to be connected to the "syslem" for lhe
             Tide Dry Cleaners space.
        .    Clean and replace filters, check fluids and gases, and balance existing system. Verify thermostat
             operalional and all rooms have adequate supply and return grilles for comfort of working environment with
             air circulation. Provide age and serial number of uniis.
        .    Landlord to warrant the system for all repairs and replacemenls for lease term.
        Electric service brought lo the Premises according to code and Tenant's Construction Documents' The
       electrical service panel shall be provided, inslalled, and energized at the rear of lhe space per the Tenant's
       Conslruction Documenls.
        .    Electrical services shall be 800 AMP Service to three (3) 300 AMP Panels 3 phase power 120 volt per
            Tenant's Construction Documents
        ,   Landlord will install the appropriate number of breakers within each AMP panel as specified in Tenant's
            Conslruction Documents
        '   All electrical shall be dislributed per Tenant's Conslruclion Documents
       Provide gas and domestic water piping within lhe Premises pursuant to Tenant's Construction Documenls
       Landlord to provide One (1) thirty (30) AMP sign circuit to the vicinity of the sign fascia extended to lhe interior
       face of lhe fronl wall of the Premises at the point above the ceiting for Tenant's sign. All switched legs to be
       terminated in J box above ceiling's fulure walls.
   I   Provide exiUemergency lighting at each egress door
   , SPECIAL EQUTPMENT: Landlord to install and pay for the fire alarm system, moniloring, and sprinkler system
       as required per City Code in conjunction with Tenant's Construction Documents
        .   Any enhancements or alterations to the sprinkter or fire alarm system caused directly from Tenanfs
            equipment as requlred by Code will be the responsibility of Tenant
       Landloid'stratt complete all interior ceiling work per Tenant's Construction Documents including by not Iimited to
       the ceiling grid, tiles, light fixtures and HVAC diffusers.
       Landlordlhall provide all finishes, including but not limited to painting and flooring, per Tenant's Construction
       Documents
                                                                                                                  Page 5   of?
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     .   Landlord shatl provide millwork per Tenant's construction Documents
     .   Landlord shall install Tenant's locker svstem/automated teller machine (to be decided at a later date which
         system is preferred) per Tenani's Construction Documents
     .   Mop sink ind all utitiiy sinks will be providecl by Landtord per Telant's Conslruclion Documents
     .   Laridlord shall be responsible for all data and voice cabling per Tenant's Construction Documents.
     ,   Landlord to provide diop ceilings in the areas shown on Tenant's Consiruction Documents
     '   Furnish A inltall hot waier heaier to provide hot water per Tenant's Construction Documents
     '   Add electric waterldrinking fountain as required by local code

EXTERIOR WORK

     .   provide double steel doors measuring 8' in width by 7' lall with a 2' transom in the rear of lhe space (to be
         verified by Tenant's design intent drawings.
     .   In the drive thru area, remove all obslructions.
    '.   Provide a dual lane drive thru with canopy per Tenants Construction Documents.
         provide necessary curbs, sidewalks, paiking, and drives to meet slate, local and ADA codes related to
         accessibilitY and condition.
    .    Provide double automatic sliding glass doors for drive thru per Tenant's Construction Documents'
    ,    lnstall io the interior watl surfaci df the Premises, a 2 inch domestic water supply line (with said supply line size
         being subject lo approval by Tenant's architect and/or engineer(s).)
         provide Gas to the Premises in location of Tenant's Construction Documents
    '
Landlord's Work will be completed in a good and workmanlike manner; will comply with all applicable legal, building
code, and insurance requirements; will 6e consistent with standards of construction for first class shopping centers; and
will consist of new materials.
Delivery Conditions

Landlord will complete or cause the completion of the foltowing conditions by the Delivery Da{e:

(a) Landlord will have completed its Work;
(b) Landtord wilt have approved Tenant's plans and signage,
                                                                                                          of its Work;
ici lanOforU will have given Tenant lhirty i3O) days advance written notice of anticipated cornpletion obtained'
idi all permits,   certificales, and licensegfor att wdrf and occupancy for the P.remises will have been
iei tne certificate of occupancy and all necessary permits for lhe building will have been issued by appropriate
authorities;
6 L"nOforl *ill have delivered actual and exclusive possession of the Premises to Tenant free and clear of all tenancies
and occupancies;
(g) all utilities will have been connected and be in adequate supply; and^
(6i lanOtorA will be responstble for the cost and production of Tenant's Construction Documents (Architectural'
iiechanical, Plumbing, and Civil if applicable), by a licensed Architect necessary for the Landlord's scope of work;
however, Tenant shall have final right to review and approve said Construction Documents; and
(i) Landlord shall bear all costs forlmpact fees, city fees, tap fee9, me_l91fees, bonds (if applicable), permits and site
iian anO zoning approval which allows Landlord io seek a permit for Tide Dry Cleaners'operation.




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                                    EXHtBIT q
                                TENANT'S SIGNAGE



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   ACORD'                                                                                                                                                        DATE (HU/DoIYYYY)
    *'                                          CERTIFICATE OF LIABILITY INSURANCE                                                                                 03125t2014
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     CERTIFIG.ATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
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 DESCRIPTI0HOFOPERATIOHSTLOCATIONSIVEHICLES       (ACORDl0l,AddltlonalRomtrtsSchtdulo,nrybeattaoh0dtfmor€spac.tsroquirod)




                                                                                         SHOULD ANY OF THE ABOVE DESCRIBEO POLICIES BE CANCELLED BEFORE
                                                                                         THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
               FRONTLINE REAL ESTATE PARTNERS                                            ACCOROA}ICE WITH THE POLICY PROVISIONS.
               707 SKOKIE BLVD., SUITE 580
               NORTHBROOK, IL 60062                                                    AUTHORIZEO REPRESEHTATIVE


                                                                                         ft*rAuJ              fl e4-/
                                                                                        1988-2014 ACORD CORPORATION.
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AcoRD 25 (2014t011                               The ACORD name and logo are registered marks of AGORD
                   Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 26 of 52 PageID #:345




   acoxif
   \*,/                                        CERTIFICATE OF LIABILITY ]NSIJRANCE
                                                                                                                                                             OAYE   (IIT{'DDIYYYN

                                                                                                                                                                 0a$t2013
      THIS CERTIFIOATE IS ISSUEDAS A MATTER OF INFORMATION ONLYAND CONFERS HO RICHTS UPON THE CERTIFICATE HOLDER. THIS
      CERTIFICATE OOES NOTAFFIRMATIYELYOR NEGATIVELYAIIEND, EXTENO ORALTER THE COVERAGE AFFORUEO BYTHE POLIC]ES
      BELOW. TH|S CERT|FTGATE OF TNSURANCE DOES llor CONSTIIUTE A CONIRACT BETWEEN THE lssulHG INSURER(S), AUTHoRIZED
      REPRESENTAIIVE OR PRODUCE& AND IHE CERTIFICATE HOLDER.
      ItttTORfnffr l, tho cortlfrcato holder Ie an ADDlTl0t'lAL INSUREO, the polloy{lea) muot be ondorsed, ll SUBROGATION lS WATVED' subiost to
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42I   t.   GranlHighway                                                                              3S:
PO Box 236                                                                                                      INSURERIs} APFOROII{O GOVERAGE                        I tci
Marongo                                   lL   80162                                          ilgUnERAr AlAd     lnSUfEnCO

IttsuREo                                                                                      O'ISURER E,
                    RANDALL ROAD JOINT VENTURE                                                tNSt REn C:
                    PO   8ox{60                                                               NSUNERD:
                                                                                              I}lgl'REREt
                   Woodstock                                    lL   60098                    lH$Uf,8i   Pr

COVERAGES                                                                                                                        REVtStor.t NU
                                      OF INSURAilCE LISTEO BELOW HAVE BEEN ISSUEOTO THE 1NSURED NAT4EOABOVE
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  CERTIFICATE lilAYsE lssUEo OR MAY PERTAI,'{, THE INSURANCEAFFORoEo BYTHE PollclEs DESCRIBEO HEREIN ls SUBJEOTTO ALLTIIE TERMS.
  EXCLUSIoNSANo CON0IIIoNS OF SUCH POLICIE$. LIMlrS SHOWN l"lAY HAVE EEEN REDUCED




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             AGGRESATE        Ll8lr APPtlES PEnr


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                                                                                             CANCELTATION

                                                                                                SHOULO ANY OT THE ABOVE DESCRIBEO POLICIES BE CANCETLEO BEFORE

                   PNC 8snk.      NA      |SAoA/ATIMA                                           TIIE EXPIRAI'O}I OATE THEREOR NOTICE WLL BE            IN
                                                                                                ACCORoANCE Wrlll lilE POLTGY PROVISIONS.    '};LIVEREO
                   Mallstop: P7-PFSC-04-V
                   5'00 Flr6t Avonuo

                   Pittsbursh, PA 1 62 19


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ACORO 26 (20r0/06)                                             fhe ACORD namo and logo are roglslorod marke of AGORD
                       Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 27 of 52 PageID #:346




 ACORI)'                               EVTDENcE oF coMMERctAL pRopERTY INSURANcE
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                                                                                                           ALLIED INSUMNCE

 llllnols Alllsnc€ lnsuranco Agency. lnc.
 421 E. GrantHlry. PO Box 236
 Mar€ngo,         lL   60162

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 RANDALL ROAD JOINT VENTURE                                                                                                               lecentssqrorc
 PO BOX 460                                                                                                 EFTEGITEOAlE               EXPNATION DAIE
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 WOODSTICK,IL 6009B                                                                                               03/15/2013                0311512014              L/l
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man,owMtrEFi[gii                REotsl                                                                     THE REPI.ACES PR,I{IR GVIDEilCE OAIEO:



 PROPERTY                                       addltlonel shoote ll moro
 LOCATIOtUOESCRIPTtON

 124.136 S. RANDALL RAOD ALGONQUIN, IL 60102

                       IHFORMATION                     CAUSEOFLOSSFORM             I       I8A8IO               NROAD        SPECIAL

coMurncnu pnoPERIY                    CoVERAGE AMoUNT OF            INSUHAI'ICE'       t   2,080,000,00                                                          DEO: 1@0
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EUSINESS INCOME RENTAL VATUE                                                                               ll   YEs.       LHrf:                   I 12 I Actual Loss   Suslalned #ol         nronhs:
              '
BLANKETCOVERA€E                                                                                            ll YES, lndhate amotrnl of lnsum rrs on ploperlles lden0Red abow: $

TERRORISM COYERAGE                                                                                         Atlach slgnod Dlsclosurc Notlcs / DEC

        IS COVERAGE PROVIOEO FOR'CERIIFIEO ACTS' ONLY?                                                     I'YEq SUBTIMTN                                        OEO:

        IS COVERAOE A STANO ALONE POLIC'II?                                                                l,YeS. Lt,fiTr                                        oED:

        DOES COVERAGE INCLUDE DOMESTIC T€RRORISM?                                                          UYES. SUBLIilTN                                       DED:

COVERAOE FOR MOLD                                                                                          II   YES,       LIMTN                                 DEO:

MOLo EXCLUSION (lf YES', speclvorganlzallonb lotm used)                                                   PB2SSS 0111

REPLACEMENT COST
AGREEOAMOUNT
COINSURANCE                                                                                                [YES,               oA


E0UIPMENT BREAK0OWN (lf Appllcable)                                                                        lfYES,          tlMtTr 2080000

LAWAND ORoINANCE . Covoreso tol loss lo undsmagod portlon ol bulHlng                                       llYES.          LIIIII:2080000                        oEo: 1000
                                 - Osmolltion Cosls                                                        I,YES,          LIMII: 60000                          DEO: 1000

                                     lrlc . Cost ol Corislruchbo                                           llYES,          LIMII: 600000                         DEo:       l$0
                                 '
EARTHQUAKE (II AppIiCAbIO)                                                                                 IIYES,          IIMIN                                 DED:

                                                                                                           I'YES,          LIMTT:                                DEO:
FLOOD (lf ApdicaHe)
WND, HAIL (1, Soparals Polb)                                                                               If   YES,       LIMITI                                DEO:

PERM]SSION TO WAIVE SUEROGATION PRIOR TO LOSS
REIIARKS                                     Condldons             addltlonal shsols l, more              le




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rBE     poltcy THAr wourD            AFFEGT THATT$rEREST, lN ACCORDANCE                lllIIlftRErcETCY    PSOVISIONS OR AS REQUIRED BY LAllr'

AODITIONAL
[A'Tg   A^t.ID   ADOREES                                                                                  LEIIOER EERVICINO AGEI{T   ilAIiI€A}ID ADORESs

PNC Bank, NA ISAOA/ATIMA
Mallstop: P7-PFSC-04-V
500 Flrst Avenue
Plttsburgh, PA 15219
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Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 28 of 52 PageID #:347




                 EXHIBIT G
                    Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 29 of 52 PageID #:348


                                    OF:    REAL ESTATE TAX BILL                                                                           ASSESSED TO: AMCORE TH CO TR 3s04
               FROM THE OFFICE
               WILLIAM W. Le      FEW 1ST INSTALLMENT COUPON PAYMENT                                                                                                              PIN:       19'30-400'008
               MCHENRY COUNry TREASURER

                                                                                                         lililrillllllililflilllil llllllillllfr llllllllil I                     ilrillliltiltt llIililil
               MAKE CHECKS PAYABLE TO: McHENFY CoUNTY COLLECTOR
                                                                                                                 lST      INSTALLMENT FOR 201
                                         **DUPLICATE**                                                                    DUE BY 06/05/201                                                      $39,839.76


                                                                                                       '"::::
               CENTERVILLE PROP
               23SO ESPLANADE DR
                                                                                               1-20 12                                          TOTAL PAID
                                                                                                                                                                                  Paid on
                                                                                                                                                                                  05/s0i201 3
               STE 3OO
               ALGONQUIN lL 60102-5451


  PAID      BY:   CHECK- CASH- MAIL- CEEDTTCARD-                                           12612?                                     1930400008000398397614




                                                                                                                                          ASSESSED               TO: AMCOBE TB CO TR 3504
               FROM THE OFFICE OF:         REAL ESTATE TAX BILL
               WILLIAMW. Le FEW       2ND INSTALLMENT COUPON PAYMENT                                                                                                              PIN:       19'30'400'008
               McHENRY COUNTY TREASUBEH

                                                                                                         il1ilil ililil1 1ilffi lllll lllll     lllil   llil lilll
               MAKE CHECKS PAYABLE TO: MoHENRY COUNTY COLLECTOR
                                                                                                                2ND INSTALLMENT FOR 2012

                                         **DUPLICATE**                                                                     DUE BY 09105124fi
                                                                                                                                                        INTEBEST

               CENTERVTLLE PROP
               2380 ESPLANADE DR
               STE 3OO
                                                                                                2-2012                                          TOTAL PAID
                                                                                                                                                            COSTS



               ALGONQUIN lL 601 02-5451

                                                                                                                                      1   9304000080 00398397 626
  PAID      BY:   CHECK- CASH- MAIL- CREDITCABD.-
                                                                                                                                                                                     Fal, Cash Valse
             Taxlng Body              Rato Percenl   JixThlsYear Tax Last Year                                                                                                                   2,434,050
IENRYCOUNry                        0.88.l056    9.t9      $7p2a15       97,?39,05
                                                                                    I.ICHE}IRY COUNIY2Ol2 REAL ESTATE TAX BILL
                                                                                                                                                                                     gAValuo
IENRY@UNTY                 PENSIO\ 0.i14753     1.20       $S53.67       8n.1O      LECAL DESGRIPTION:
                                                                                                                                                                                                  892,182
IENRY   @   CONSV                  o.248082     2.5e      5a061,73      $1,s89.27 DOC S3R00E1 7ss                                                                                    gA   lrlultiolier
                                                                                                                                                                                              '                        X

                                   0.525487     5.48      s4,367.r4     $4,3O9,OO   LT2                                                                                                             .9094
LEGE OISTBICT 509 ELGIN
                                                                                                                                                                                     gA   Eoualized Value
LEGE DISTB1CT 5Og ELGIN    PENSIO\ 0.007426     0.08         t61.72        940.69 KAPERS VJEST SUB
                                                                                                                                                                                                  81 1,350
ool  otsT300                       5.443793    56,78     $15,241.54    $12,152.78
                                                                                                                                                                                     Brd. ol BaviewValue
ool  DlsT300               PENSIO\ 0.161400     1,68      $'1,341,3f    $1,798,90 ASSESSED TO:                                                                                                    81 1,350
LITH FISE D]SI                     0.738112     710       s6,134'20     s5.&50.89
                                                                                  A!'|CORE TR CO TR 3504                                                                             B(d. ot   Reviewl,fulitdie.       X
LITH FIRE DIST             PENSTO\ 0.088620     o.92       $736.49        $697.76 ilA'L TO:                                                                                                        1.0000
ONOUIN LTBRARY                     0.476264     4,97      93,S58.07     93,726.97 CENTERVILLE PROP                                                                                   9.d. ot Reviow EO Varuo
                                                0.50       $399.11        $432.97 23€O ESPLANADE OF                                                                                          81 1,350
ONQUIN LTBRAEY             PENSIO\ 0,048024
ONOUIN TOYINSHIP                   o.074157     o.7?        9616.29      9598.1 7 sTE 300                                                                                                       '0
                                                                                                                                                                                     Hom lrorovJvst Exstrlptlons       '
                                                                                  ALGO\AU|N lL 60102^5451
ONON TWP RD A BB                   0.154715     1,61      sr,285.78     $1,2s2.29
                                                                                                                                                                                     Stals   lJult'plier               X
                                                                                                                                lncludss'1.5% per
ONON TWP RO & BR           PENglq\ 0.007ss3     0.08         s66.10        s64.37 It pald alter due date, pay smounl bolowvhl6h                                                                    1.0243
                                                .l.ol                             month pemlly: rlBsT lNslALLtlENT sEcoNo lNsrALLtrEHI
ONOUIN VILTAGE                     o.*4243                s3.193.31     93,203.37                                                                                                    Stato Eoualized Valua
                           PENSTG\ 0.233544     2,44      $r.S10.91     $,,95s.15
                                                                                    06.'06 -07m5                     40,437.36
                                                                                                                                                                                                  831,0a6
ONOUIN VILIAGE
                                                                                    O7i'06 -O{t/05                   41roi}4.Ss
                                                                                                                                                                                     Fardard and Bldgs. Valuo t
                                                                                    08105 - 09/05                    41,632.55
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                                                                                    09.'05. 1O/O5                     42,1t0.15                          40,437'36
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                                                                                    '10106. 1oE5                      42,827,74                          41,044.s5
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                                                                                                              $39,839.76                                             $39,839.76                         0
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                                                                                                                                                                                                  831,066
                                                                                    fohl    Pa,d                                      Tolal Pald                                     Lml Iax      Rale                 X
                                                                                                                                                                                                 s.58762S

                                                                                    Paid on                                           Paid on
                                                                                    05/30i2013                                        0812912013                                               $79,679.52
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 30 of 52 PageID #:349




                H,XHIBIT H
           Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 31 of 52 PageID #:350



 124-136 S Randall Rd, Algonquin (124-136r)                                                                                                                         Page      1




 Income Statement
Period = Jan2O14-Mar 2014
Book = Cash ; Tree = ysi_is
                                              P6.{od to Dat6                                                0h         Year to   Date                                     o/o




 OPERATING TNCOME

 RENTAL REVENUE
  Rent                                            29,469.00                                             0.00             29,469.00                                     0.00
  Propaid Rent                                     R o81 n7                                             0_00              8.981.87                                     0.00
 TOTAL RENTAL REVENUE                             38,450.87                                                              38,450.87                                     0.00

 RECOVERABLE INCOME
  Eslimated CAM                                    5,4s1.00                                             0.00               5,451.00                                    0.00
  Estimated Real Estate Taxes                     1?.21e.OA                                             0.00             12.219.00                                     0.00_
 TOTAL RECOVEMBLE INCOME                          '17,670.00                                            0.00             17,670,00                                     0.00

 OTHER INCOME
  Misc lncome                                            68.4s                                          0,00                   68.49                                   0.00
 TOTAL OTHER INCOME                                      68.4S                                                                 68.49                                   0.00

TOTAL INCOME                                     !,6-r,'!-99.$.-6.,,,,.,',,.,::i::,,.:-yr j.rr:::       0.00". . _.,    ,,E6..'iEifi                                   0.00.




OPERATING EXPENSES

NON RECOVEMBLE OPERATING EXFENSES
 Tenant Space R&M                                      e81     46                                       0   00               281.46                                   0.00
TOTAL NON-RECOVERABLE R&M                              281.46                                           0.00                 281.46                                   0.00

NON-RECOVEMBLE UTILITIES
 Gas                                               1,319.04                                             0.00              1,319.04                                    0.00
 Electdcity                                            225.20                                           0.00                225.20                                    0.00.
TOTAL NON.RECOVEMBLE UTILITIES                     1,544.24                                             0,00              1,544.24                                    0.00

NON.RECOVERAELE G&A
 Other Professional Feos                          3,833.06                                              0.00              3,833.06                                    0.00
 ceneral & Admln Expense                               174,16                                           0,00                 174.18                                   0.00
 Permit & License                                      40.00                                            0.00                  40.00                                   0.00
 Receiver Bond                                        750.00                                            0.00                 750.00                                   0.00
 Bank Fees                                               81.76                                          0.00                  81   .76                                0.00
TOTAL NON.RECOVEMBLE G&A                          4,87B.OB                                             0.00               4,878.98                                    0.00

TOTAL NON RECOVERABLE EXPENSES                    6,7M,68                                              0.00               6J04.68                                     0.00

RECOVEMBLE EXPENSES

REPAIRS & MAINTENANCE
 Snow Removat                                     5,528.75                                             0.00               5,528.75                                    0.00
 Trash Removal                                    1,829.44                                             0.00               1,825.44                                    0,00
 Plumblng R&M                                      684,60                                              0,00                 684.60                                    0.00
 Miscellaneous R&M                                    175     iA                                       O 00                 175.4A                                    0.00
TOTAL REPAIRS & MAINTENANCE                       8,218.19                                                                8,218.19                                    0.00

UTILITIES
 Electrlcity                                         410.58                                            0.00                 410.58                                    0.00
 Water/Sewer                                      1.382,37                                             0.00               1,382.37                                    0.00.
TOTAL UTILITIES                                   1,792.95                                             0.00               1,792.95                                    0.00

INSURANCE
 lnsurance - Other                                   7FO      AA                                       0.00
TOTAL INSUMNCE                                       750.00                                                                                                           0.00

TOTAL RECOVEMBLE EXPENSES                        '10,761.',14                                          0.00             10,761.14                                     0.00

TOTAL OPERATI NG EXPENSES                        17,465.82                                             0.00             17485.82                                      0.00

NET OPERATING INCOME                             6.a"J.&ir*                                         " ."0.00,- "       ,q.s,i1s.6a .,.,,,,,, - ",-,..-   *,,....   - . o,oo


                                                                                                                                          Tuesday, April 08, 2014
                                                                                                                                                              05:33 PM
         Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 32 of 52 PageID #:351



124-136 S Randall Rd, Algonquin (124-136r)                                                          Page 2

lncome Statement
Period = Jan 2A14-Mar 2014
Book = Cash ; Tree = ysi_is
                                             Perlod to   Date   o/o   Y68r io   Dato                     o/o



NETINCOME(LOSS)




                                                                                   Tuesday, April 08, 2014
                                                                                                05:33 PM
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 33 of 52 PageID #:352




                                                                                                                           0,1/08/2011
                                          124-139 S Randall Rd ProPedY
                                           Bank Reconclllatlon RePort
                                                           0313112014
                                                            4628440747



   Balancs Por Bark Statemont as of 0313112014                                                      30,220.00

   Less:              Outstandlog Ghecks                                                                 993.62

                                        Reconclled Bank Balance                                                         29,22i,54




   Balanco per GL as ol AAil12014                                                                  38,853,54

                                                                                                    .9,427.00
   Plus/Mlnus: BookReconclltngltems
                                        Reconclled Balance Per G/L                                                      29,229,64




                                                                                                                                  0.00
  Difference




  Cleared ltems   :



  Cleared Checks


  oate                 Tran rl                                                                 Armunt _..._        oat6 c,oared

  0u19r20il                      1014          olco,   '   Nhor GaB Co.                                   789.01        03/31/2014

                                 1016          back8o/r - BacldlovJ Testlng SerYic€g. lnc                 260,00        03r31/2014
  03/052014
  03105/2014                     1016          villalgo - Mllage ofAloonquln                              121:t4        $lxnu4
  0gt1/2014                      1017          elitelanrn - Elito Larmcare                              2,?24,00        03,11txl1
  0afinu4                        1018          oom6d - Commonyrealth Efison                                07.07        a?i3J12014

  0311812014                     !019          flrcrnana - FL RC lranagement, LLC                         271.28        $lillm14
  oa18nu4                        1020          nlcor   - Nbor Gas Co.                                     519.23        otat8l4
  Total    Cleared Cheoks                                                                    4,686,03



  Cleared Deposlts


                                                                                                                   Dateger.ed--
  03fi5nofi                  0                                                                      12,164.00           o{31n014
                                                                                                                        03/s.12014
  $t$na$                    10                                                                          3,717.00
                            1l                                                                          5,000.00        03191l2014
  03/10/?ol4
                            t2                                                                          7,0s7,00       03/3rr2014
  o3n8t2o14

  Total    Cleared Deposlts                                                                 28,448.00
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 34 of 52 PageID #:353




                                   124-136 S Randall Rd Property
                                    Bank Reconclliation Report
                                           03t31na44
                                                4628MO747




   Cleared Other ttems


                      T(dn   f                                                        Amouot      Datecledred
   €I31n014              JE 107$        Trgf( seqrrity deposils to con bank accl         -7,567.00 03V31n014
   ogilnafi              JE 1877        Bsok F6es                                          -{1.10      881/2014

   Total   Clear€d Other ltems                                                     -7,608.,19
                    Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 35 of 52 PageID #:354




Corpmre     Buslness Account Ststement


                                                                                                                                                       Accoun(nurrrbcr: 46t$44'W47
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                                                        03Dl20l4lo 03/ll/2014                                                                          Nuntber of cuclosurcs:
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                                    Por tho period
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                                    FRONTI,INE REATJ ES?ATE                                                                                            B      Por Clicnt Servicas:

                                    PARTNERS                ttc                                                                                               CsU l-800'660-1518

                                    ?O? SKOKIE BT,VD STE
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 Aeounl Su*mnrY {nformation
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  03/ll


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               Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 36 of 52 PageID #:355




Corpomte Dusiness Ac.ount Statement

TiRONTLINBREAL ESTATB                                                                             For 0rc pcdod 03012014 to 03/31/2014
PAR'INI]RS LLC
                                                                                                  Accountnunlbcil     4G2M4-A74'|

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Checks rutd Olher   kbits                      -   continued
Orher Debits                                           I   transaction for a lotal of $   4l.lg
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Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 37 of 52 PageID #:356




                                       124 138 Randall Rd - Sec Dep
                                        Bank Reconciliation Roport
                                                       03131t2014
                                                       60-50076593



   Balan0o Pcr Bank Statement as ot   03131 1201   4                  7,667,00

                                    Reconclled Bank tsalance                     7,667.00




   Balanco per GL as ot A3Bll2014                                     7,607,00

                                    Reconclled Balance Per G/L                   7,567.00




   Dlfference                                                                         0.00
         Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 38 of 52 PageID #:357


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                                      FL RC MANAGEMENT LLC                                                                                                          50 5007 6593
                                      124 L3G s MNDALL RD PRoPERTY
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Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 39 of 52 PageID #:358




                                              124.136 $ RandallRd Property                                                               fil17nu4
                                                Bank Reconclliatlon Repo*
                                                       azt28t2a14
                                                               4828M0747



     Balance Per Bank Statement as of 0212812014                                                                  1a,947.18

     Less;             Outstandlng Checks                                                                            799.81

                                            Reconclled Bank Balanca                                                                   lX,147,37




    Balance per GL as of 0212812014                                                                              13,147,37

                                            Reconclled Balance Per GIL                                                               13,147.37




    Dlffot'ence                                                                                                                              0.00




   Cleared ltems   I




   Cleared Checks


  Dato                  Trso#                                                                            Arnount     Dat6 Cleared
  olDtnall                        1000             sasecur -A&Aseqrdty Safety Srppy. tnc                      281.46 0Z2Um14
  0112t2014                       1001             allied-g33 -Allied wbste Se(vicos,ig33                     453-33 02t28f2014
  01t21t2014                      1002             &icagoti[e . Chlcago    TiUe Land Trusl Company             76.00      0il28r20u
  01nv2014                        1003            comed - Commonwe€,th Edrson                                  86.09      0A2A2fi4
  otnlt20t4                       't004           elitetatrn - Elite La\yncars                               2,?62.75 0212A2014
  alft1t2014                      1005            &onreal - Fron0ine Real EstatE parlnors, LLC               4,508,06 02r2u2014
  olnlnu4                         ,006            mesifnp - Mesirow Financial                                 750.00 0a28D014
  01130t2014                      1007            comed - Commoouisalth Edison                                205.29 02h8nm4
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  01130t20t4                      1009            sllisd€33 -A,lied t bste SeMces 8933                        461.33 O2t28!2014
  azhot20.l4                      l0to            ollied.9e3 -Afred t4bste Service$ #939                      914-72 02f28t2014
  oa10nM4                         ,0r   l         @.n€d - Commonwsalth Edison                                 20$.20 02128t2014
  02t10t2014                      1012            villalgo - Village olAlgonquin                              6{8.23     t2n8!2014
  02t19t2A14                      t0t3            etitelalyn - Elite Lsrvncare                                s42.N      0212812014

  Iotal   Cleared Checks                                                                             12,674.61



 Gleared Deposlls


 Dat€                  Tran   *                                                                                               Date Cle€red
 aI07nu4                      t                                                                                  3.365.00          4z2u2014
 o1t10t2o14                   2                                                                                  3,700.00          ou2&no14
 01f13t?014                   3                                                                                  4,946.00          0a28n014
 01l13t8t4                    4                                                                                   404.3S           0il2U2a14
 0111512014                   5                                                                                  2,083.00          0212812A14
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 40 of 52 PageID #:359



                                  124-136 $ RandallRd Property
                                   Bank Reconciliation Report
                                            aa2a2u4
                                             482844A741



    Cleared Deposlts


   Oatg       Tr€n #                                                                    Oata Cleared
   ul2at2011        6                                                        3,700.00        0z?8m14
   021t4t2014       7                                                        4,e46.00        0428t2014
   02J0812A14       I                                                        3.518.00        0a28nau
   Total   Cleared Deposits                                      26,662.36



   Cleared Other ltems


                       Tran #                                                           Date Cfesred
                         JE1674       Bank Feos                                              oa28t20t4

   Total   Cleared Other ltems                                      40.67
              Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 41 of 52 PageID #:360



  Corporate Business Account Statement
                                                                                                                   Account    number;               46'2844'0747

                                                                                                                   Page 1 of2
                        For the perlod 02{}1/2014 to 02/2S201 4
                                                                                                                   Number of enolosures: 0
                                                                                                                   Tax lD Number: 27-19B6801
                        FRONTLINE REAL ESTATE
                        PARTNERS         LtC                                                                       S    For Cllenl Servlces:
                       ?07 SKOKIE BLVD STE 5BO                                                                          Call 1-800-669-1518
                       NORTHBROOK IL 60062_2855
                                                                                                                   EJ Vlsit us at PNC.com/lreasurY
                                                                                                                   J4

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                                                                                                                        One Flnancial Parkway
                                                                                                                        Local0r Z1-Yb42-09-1
                                                                                                                        Kalamazoo , M149009


 Account Summary lnformation
 Balance Summary
                                       BegJnnlng                     O€poslls aod                   Chscks and                                Ending
                                         balaoce                     othor c.edile                  olher deblls                             balance

                                      5,981.67                       12,164,00                      4,198.49                         l?,947.18
 Deposlts and Olher Credits                                                           Checks and Other Debits
Descripthrt                                Items                          Amounl      D66criplion                                              Itetns                   Aftount

 Deposlts                                         2                  12,164,00        Checks                                                       7                4,157.92
NationalLockbox                                   0                       0.00        Returned ltems                                               0                        0.00
ACH Credits                                       0                       0.00        ACH Deblts                                                   0                        0.00
Funds Transfers ln                                0                       0.00        Funds Transfers Out                                          0                        0.00
Trade Sorvlces                                 0                            0.00      Trade Servlcss                                               0                        0.00
lnveslments                                    0                            0"00      lnveslments                                                  0                        0.00
Zero Balance Transfers                         0                            0.00      Zero Balance Transfers                                       0                        0.00
Adjustments                                    0                           0.00       Adjustments                                                  0                       0.00
Olher Oredits                                  0                           0.00       Other Deblts                                                 1                       40.57
Toial                                          2                    12,'t 64.00 Total                                                              B                4,198.49
Ledger Balance
Dale                 Ledg6r balance                      Dalo                          L€dg6r balaoco                       Dato                          Ledger balance

o2101                   5,981.67                         0zlao                             4,533.99                         a2118                           14,929.75
aa03                    5,776.38                         02110                            16,697.99                         02126                           13,987.75
aaa4                    4,995.39                         02t14                            16,049,76                         azl28                           13,947.18


Deposlt$ and Other Gredits
Beposlts                                              2 transacllons for a           totalof $ 12,164.00
Dato                                                  Transaclion                                                                                                    Relerence
Posted                                   Amount       lesqriptlon                                                                                                      numbor

o2t10                                 8,646.00 Deposit                                                                                                              030884182

o2110                                 3,518.00 Deposit                                                                                                              03088{187



Checks and Other Bebits
Checks and Substltute Ghecks                                    T   lran$acllons for a total of $ 4,157.92
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                                                                                                                                                         Arnoudt
                                                                                                                                                                     Bel€ rertco
posled   numbct         Amount          nurnbar       postod    numbc.                   Amount         numbqr      posled         nu,nber                             iuilbsr
02109    1007            205.29       090r10908       a2n4       1012                     648.23    0902r4253       o2l2E          10r3                   942.00    0s684810s
02104    1008            781.00       095185914       au18      1010
                                                                .,01
                                                                                          914.72    090734772
0u00     1009            461.39       o8so77o67       o2/tB          1                    206.29    090629933
         Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 42 of 52 PageID #:361



 Corporate Business Account Statement
 FRONTLINE REAt ESTATE
 PARTNEBS LLC                                                              For the perlod O2tO1tZ014   to   O2t2Bl2A14
                                                                           Accountnurnber:       4A-2844_0747
                                                                           Pago 2 ot 2
Checks and Other Debits     -   continued
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              Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 45 of 52 PageID #:364



Aged Receivables Report
Detail by Resuent
Property: 124-136 S Randall Rd. Algonquln (124-13
Trans through: 3/2014
Age As of: 313U20f4                                                                                                                        Page    I
                                                    Total Unpald      0-30      31-60       51-90       Over 90
Unit         Resident                 charge Code       Charges        days        days        days        days   Prepay.nents           Balance


124-136r - 124-136 s Randall Rd, Algonquin
176         atklnson A*lnson Eye €are -                     0.00        0.00        0.00        0,00       0.00      -3,700.00          -3,700.00

                           RRJV
1284         rEl.rcliqu     Nerv Clique, LLC           11,489.68    3,670.00    3.670,00    1,587.00    2,562.@           0.00          r1,489.6B


132          elfuego        El Fu@Tac06&                s$43.4s     3,7t7.@     1,726.45        0,00       0.00           0.00           5A43,4s
                           Burritos
136          cleanPre      Oein & press                     0.00       0.00         0.@         0.00       0.00      -5,281.87          -5,281,97



Total 124-136r                                        16,933,13    7,387,O4    t396.4s     1,587.00    2,562,68     -&981.87            7,95L,26

Total                                                 16,933,13    7,387,04    sF96,45     1,587,00    2,562,68    -8r981.87            7p51,26




                                                                                                                          Tuesday, April 8, 2014
            Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 46 of 52 PageID #:365


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                  E,XHIBIT I
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 48 of 52 PageID #:367




                          FnosTt$Erse Rea I Estate Pa                   rtners


  PNC Bank                                                                     INVOTCE
  I N. Franklin,   Suite 2150                                                         Rso01
  Chicago,IL 60606
  Re: Randall Road Joint Venttue Receivership                               April 15,2014



  NOR PROFESSIONAL SDRYICES RENDtrRED X'OR THE PERIOD II14II4
                                                                                      _3I3III4


  Receiver's Fees:




          Montltly FIat   Fees                                            $5,161.29

      Total Receiver's Fees                                               $5,161.29




  Atlditional Cltargcs:

          None

      Total Receiver's Expenses                                              $0.00




  Total AmoutttDue                                                        $5,16r,29




                                 Frorrtline Real Estate Partuers, LLC
                                   707 Skokie Boulevard Suite 580
                                        Northbrook,lL   60062
Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 49 of 52 PageID #:368




                 E,XHIBIT J
 Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 50 of 52 PageID #:369




                      IN THD UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVTSION

 PNC Bank, National Association, successor in                )
 interest by merger to National City Bank, successor         )
 in interest by melger to MidAmerica Bank, FSB               )
                                                            )    No 13 cv 47271
                                        Plaintiff,          )
                                                            )    Property Address:
                          vs.                               )    124-136 S. Randall Road
                                                            )    Algonquin, Illinois 60rc2
Randall Road Joint Yenture, an Illinois general             )
Partnership; Chicago Title Land Trust Company,              )    Assigned Judge: Robert M. Dow, Jr.
successor tnrstee to Amcore Investment Group as             )    Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated Decenrber 15,           )
1993 and Known as Trust Number 3504; Jeffiey R.             )
Dunham; Robert R, Dunharn; Power Pizza Company              )
d/b/a Jake's Pizza, an Illinois domestic cotporation;       )
Phoenix Leasing Incorporated, a foreign corporation;        )
                                                            )
                                       Defendants.          )

                                               oRp-pR

      THIS MATTER coming on to be heard before this Honorable Coutt on approval of the
Second Repolt of the Receiver, and the Court being fully advised in the premises;


         TT IS   HEREBY ORDDRED THAT:
    1,   The Second Report of the Receivelis approved including all fees aud expenses of the
         Receiver as detailed in the Report;

    2,   The Receiver's Third Report shall cover the period tll'ough
         2014 and shall be filed by                                2014;

    3,   The approval hearing for the Third Report of the Receiver shall be on
         20t4 at             in Couftroom l703 of the United States District Cout't For The Northetn
         District of Illinois, 219 South Deatborn Street, Chicago, IL 60604;

    4.   The lease telmination agreement attaclrecl as Exhibit B of the Report is hereby approved.

                                               ENTER:
                                               JUDGE
                                               Dated:
Joshua E. Joseph I Receiver
707 Skokie Boulevard, Suite 580
Norlhbrook, lL 60062
(847)770-6262
  Case: 1:13-cv-07271 Document #: 42 Filed: 04/15/14 Page 51 of 52 PageID #:370




                        IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS, EASTDRN DIVISION

 PNC Bank, National Association, successor in                )
 interest by merger to National City Bank, successor         )
 in interest by merger to MidAmerica Bank, FSB               )
                                                             ) No 13 cv 07271
                                        Piaintiff.           )
                                                             ) Property Address:
                               vs.                           ) 124-136 S. Ranclall Road
                                                             ) Algonquin, Illinois 60102
 Randall Road Joint Venture, an Illinois general             )
 Palhrership; Chicago Title Land Trust Company,              )   Assigned Judge: Roberl M. Dow, Jr.
 successoltrustee to Amcore Investment Gronp as              )   Magistrate Judge: Mary M, Rowland
 Trustee Under Trust Agreernent Dated Decernber 15,         )
 1993 and Known as Trust Number 3504; Jeffrey R,             )
 Dunharn; Robert R. Dunham; Power Pizza Compariy            )
 d/b/a Jake's Pizza, an Illinois dornestic corporation;      )
 Phoenix Leasing Incorporated, a foreign corpolation;        )
                                                            )
                                        Defendants.         )
                                               ORDER

       THIS MATTER coming on to be heard before this Honorable Court on approval of the
 Second Report of the Receiver, and the Court being ftilly advised in the premises;


          IT IS HDRtr.BY ORDERED THAT:
     1.   The Second Report of the Receivet'is approved including all fees and expenses of the
          Receiver as detailed in the Report;

     2.   The Receiver's Third Report shall cover the peliod through
          2014 and shall be filed b                                2AM;

     3.   The approval hearing for the Third Report of the Receiver shall be on
          2014 at            in Cour1roorn 1703 of the United States District Court For The Northem
          District of Iltnois, 219 South Dearborn Street, Chicago, lL 60604;

    4,    The iease termination agreement attached as Exhibit B of the Report is hereby approved.

                                               trNTER:
                                               JUDGE
                                               Dated:
Joslura E. Joseph / Receiver
707 Skokie Bonlevard, Suite 580
Northbrook, \L 60062
(847)770-6262
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